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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

PATRICK NATHANIEL REED,                     Case No. 3-22-CV-01059-TJC-PDB

      Plaintiff,

vs.

BRANDEL CHAMBLEE, et al.,

  Defendants.

 DEFENDANTS’ SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
      THEIR MOTION TO DISMISS AMENDED COMPLAINT

         Pursuant to the Court’s order of August 8, 2023 (D.E. 88), Defendants

Brandel Chamblee, Damon Hack, Benjamin Bacon, Eamon Lynch, and TGC,

LLC provide the following supplementary commentary on two recent

Southern District of Florida decisions that were mentioned in passing during

the omnibus hearing held before the Court on July 31, 2023.

         The first case, Trump v. Cable News Network, is instructive because it

rebuts Reed’s contention that the at-issue LIV statements constitute

defamatory statements of objective fact. See 22-61842-CIV, 2023 WL 4845589

(S.D. Fla. July 28, 2023). In Trump, the former president sued CNN

regarding a series of statements drawing unfavorable comparisons between

his use of the phrase “the big lie” and tactics employed by China’s Xi Jinping,

Hungary’s Viktor Orbán, and Nazi propogandist Joseph Goebbels. Id. at *1.
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      The court granted CNN’s motion to dismiss, explaining that “Nazi

references in the political discourse (made by whichever ‘side’) [are] odious

and repugnant. But bad rhetoric is not defamation when it does not include

false statements of fact.” Id. Moreover, the court explained, phrases such as

“‘Hitler-like’ . . . are not statements of fact subject to defamation laws because

of the tremendous imprecision of the meaning and usage of such terms in the

realm of political debate.” Id. at *5 (citation omitted). Thus, the court

concluded, “[b]eing ‘Hitler-like’ is not a verifiable statement of fact that would

support a defamation claim.” Id. 1


1 The Amended Complaint, in short, invites the Court to adjudicate social

decorum. At the July 31 hearing, Reed’s counsel told the Court that “You
don’t throw the word ‘Hitler’ around willy-nilly. And that’s the problem with
the world today. . . . I wish I was in your position, frankly, because I would
enforce the law and say that . . . [t]here are limits.” Transcript at 96:18–97:2.
As the Trump court explained, counsel’s position is incorrect as matter of law.
But it’s also wrong as a matter of history. As a unanimous Supreme Court
explained when evaluating the false yet hyperbolic statement that plaintiff
Jerry Fallwell had sex with his mother in an outhouse, the American
judiciary’s commitment to protecting “vehement, caustic, and sometimes
unpleasantly sharp attacks” reaches back to the days of the founding fathers.
See Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 51–54 (1988) (recounting
200 years of “outrageous” yet constitutionally protected social discourse).
“The fact that society may find speech offensive is not a sufficient reason for
suppressing it,” the high court explained. “Indeed, if it is the speaker’s
opinion that gives offense, that consequence is a reason for according it
constitutional protection. For it is a central tenet of the First Amendment
that the government must remain neutral in the marketplace of ideas.” Id. at
55–56 (citation and brackets omitted).


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      In the instant case, the LIV statements did not compare Reed to

dictators; they compared Mohammed bin Salman to dictators. Even so, as the

Trump court made clear, hyperbolic references to dictatorial evil cannot

support a defamation claim.

      Dershowitz v. Cable News Network is also instructive because it

undercuts any argument that Defendants acted with actual malice in this

case. See 20-61872-CIV, 2023 WL 4851704 (S.D. Fla. Apr. 4, 2023). The

mental state of actual malice, which Reed must plausibly allege here, asks

whether the defendant “actually entertained serious doubts as to the veracity

of the published account, or was highly aware that the account was probably

false.” Id. at *5 (citation omitted).

      The court in Dershowitz initially denied CNN’s motion to dismiss on

actual malice grounds because Dershowitz alleged that CNN had deceptively

edited a video clip to falsely portray Dershowitz as stating the opposite of

what he actually said—that a president is immune from criminal liability if

he subjectively believes his actions are in the country’s best interest. Id. And

because the complaint alleged CNN actively and intentionally doctored the

video, CNN would have subjectively known the falsity of its statements. 2 Id.



2 Here, the Amended Complaint lacks any allegation that would plausibly

support an inference of actual malice. Rather, the only facts alleged
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      The court then granted CNN’s summary judgment motion solely on

actual malice grounds and found that, although the video clip may have been

selectively edited, Dershowitz had presented no evidence on the probative

issue: whether CNN subjectively and actually doubted the veracity of

anything that it said. In so doing, the court rejected Dershowitz’s irrelevant

evidence proffered to support a finding of actual malice—i.e., evidence of

CNN’s (a) ill-will, (b) knowledge of Dershowitz’s opposing statements, (c)

personal animus, (d) name-calling, (e) failure to abide by journalistic

standards, (f) intent to promote a pre-scripted storyline, or (g) failure to

publish exculpatory or explanatory information. Id. at 5–8. None of this

evidence mattered. And because no evidence demonstrated that CNN knew

its publications were false, the court granted summary judgment and closed

the case. Id. at 9.

      In the instant case, a meaningful analysis of actual malice is impossible

because none of the at-issue statements (as in Trump) constitute objective

statements of fact that can be proven false: the LIV statements draw

hyperbolic comparisons between Saudi Arabia and other despotic countries,

and the FIO statements feature unfalsifiable opinions about a disclosed fact.




supporting actual malice are those that the Dershowitz court summarily
rejected.


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      But even if any at-issue statement were falsifiable, the only allegations

that Reed has proffered to demonstrate actual malice are no more relevant

than the categories of evidence rejected by the Dershowitz court—i.e., that

Defendants harbored ill-will toward Reed, declined to publish exculpatory

facts, or failed to retract any publication. See (D.E. 35 at 23–27). Here, as in

Dershowitz, these types of allegations—even if true and for which evidence is

presented—do not plausibly demonstrate that Defendants subjectively

doubted the truth of any at-issue publication.

Dated: September 1, 2023

                                    Respectfully Submitted,
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